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  7                            UNITED STATES DISTRICT COURT
  8                           CENTRAL DISTRICT OF CALIFORNIA
  9
      TIMOTHY LEUENHAGEN, et al.,                           Case No. 2:21-cv-01187-RGK-SK
 10
                                                            Action filed: February 9, 2021
 11                           Plaintiffs,

 12          v.                                             STIPULATED PROTECTIVE
                                                            ORDER1
 13   CARNIVAL CORPORATION, et al.,
 14
                              Defendants.
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 17          1.      PURPOSES, LIMITATIONS AND GOOD CAUSE
 18          1.1     Purposes and Limitations
 19          As the parties have represented that discovery in this action is likely to
 20   involve production of confidential, proprietary, or private information for which
 21   special protection from public disclosure and from use for any purpose other than
 22   prosecuting this litigation may be warranted, this Court enters the following
 23   Protective Order. This Order does not confer blanket protections on all disclosures
 24   or responses to discovery. The protection it affords from public disclosure and use
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 26   1
        Counsel for both Plaintiffs and Defendants are engaged in discovery in multiple cases in the
 27   Central District of California. This proposed protective order is based on one of the model
      protective orders provided by Magistrate Judge Chooljian, and it is substantively identical both to
 28   the protective order entered in Archer, et al. v. Carnival Corporation, et al., No. 2:20-cv-04203-
      RGK-SK (C.D. Cal.).
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  1   extends only to the limited information or items that are entitled to confidential
  2   treatment under the applicable legal principles. Further, as set forth in Section 12.3,
  3   below, this Protective Order does not entitle the parties to file confidential
  4   information under seal. Rather, when the parties seek permission from the court to
  5   file material under seal, the parties must comply with Civil Local Rule 79-5 and
  6   with any pertinent orders of the assigned District Judge and Magistrate Judge.
  7         1.2    Good Cause Statement
  8         This action is likely to involve personal medical information, financial
  9   records, and trade secrets. In light of the nature of the claims and allegations in this
 10   case and the parties’ representations that discovery in this case will involve the
 11   production of confidential records, and in order to expedite the flow of information,
 12   to facilitate the prompt resolution of disputes over confidentiality of discovery
 13   materials, to adequately protect information the parties are entitled to keep
 14   confidential, to ensure that the parties are permitted reasonable necessary uses of
 15   such material in connection with this action, to address their handling of such
 16   material at the end of the litigation, and to serve the ends of justice, a protective
 17   order for such information is justified in this matter. The parties shall not designate
 18   any information/documents as confidential for tactical reasons and without a good
 19   faith belief that such information/documents have been maintained in a confidential,
 20   non-public manner, and that there is good cause or a compelling reason why it
 21   should not be part of the public record of this case.
 22         1.3.   Materials Produced May Be Used in the Following Cases
 23         To promote judicial economy and efficiency, materials produced and
 24   depositions taken in this litigation maybe shared with counsel in the following cases
 25   provided counsel signs this protective order and agrees to be bound by its terms:
 26   Duc Chung, et al. v. Carnival Corporation, et al., No. 2:20-cv-04954-DDP-GJS
 27   (C.D. Cal.); Cynthia Ford, et al. v. Carnival Corporation, et al., No. 2:20-cv-06226-
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  1   DDP-AFM (C.D. Cal.); Miguel Gonzalez v. Carnival Corporation, 2:21-cv-01195-
  2   DDP-GJS (C.D. Cal.); Miguel Gonzalez, et al. v. Carnival Corporation, et al., 2:21-
  3   cv-08261 (C.D. Cal.); and Timothy Leuenhagen, et al. v. Carnival Corporation, et
  4   al., No. 2:21-cv-01187-RGK-SK (C.D. Cal.).
  5         1.4    Materials Produced in Other Cases
  6         To promote judicial economy and efficiency, the materials produced and
  7   depositions taken in the following related cases may be treated as if obtained
  8   through discovery in the present litigation, provided counsel signs this protective
  9   order and agrees to be bound by its terms: Duc Chung, et al. v. Carnival
 10   Corporation, et al., No. 2:20-cv-04954-DDP-GJS (C.D. Cal.); Cynthia Ford, et al.
 11   v. Carnival Corporation, et al., No. 2:20-cv-06226-DDP-AFM (C.D. Cal.); Miguel
 12   Gonzalez v. Carnival Corporation, 2:21-cv-01195-DDP-GJS (C.D. Cal.); Miguel
 13   Gonzalez, et al. v. Carnival Corporation, et al., 2:21-cv-08261 (C.D. Cal.); and
 14   Timothy Leuenhagen, et al. v. Carnival Corporation, et al., No. 2:21-cv-01187-
 15   RGK-SK (C.D. Cal.).
 16         The Parties agree that depositions transcripts and exhibits from Archer et al.
 17   v. Carnival Corporation et al., No. 2:20-cv-04203-RGK (C.D. Cal.), may be used in
 18   the present litigation. Defendants further agree to reproduce in the present litigation
 19   the documents that were produced in Robert Archer et al. v. Carnival Corporation
 20   et al., No. 2:20-cv-04203-RGK (C.D. Cal.), to the extent those documents were not
 21   related solely to the Archer plaintiffs (i.e., the “DARC” production series).
 22         2.     DEFINITIONS
 23         2.1    Action: The instant action: Timothy Leuenhagen, et al. v. Carnival
 24   Corporation, et al., No. 2:21-cv-01187-RGK-SK (C.D. Cal.).
 25         2.2    Challenging Party: a Party or Non-Party that challenges the
 26   designation of information or items under this Order.
 27         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
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  1   how it is generated, stored or maintained) or tangible things that qualify for
  2   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  3   the Good Cause Statement.
  4          2.4    “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY”
  5   Information or Items: extremely sensitive “CONFIDENTIAL” Information or
  6   Items, the disclosure of which to another Party or Non-Party would create a
  7   substantial risk of serious harm that could not be avoided by less restrictive means.
  8          2.5    Counsel: Outside Counsel of Record and House Counsel (as well as
  9   their support staff).
 10          2.6    Designating Party: a Party or Non-Party that designates information or
 11   items that it produces in disclosures or in responses to discovery as
 12   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
 13   ONLY.”
 14          2.7    Disclosure or Discovery Material: all items or information, regardless
 15   of the medium or manner in which it is generated, stored, or maintained (including,
 16   among other things, testimony, transcripts, and tangible things), that are produced or
 17   generated in disclosures or responses to discovery in this matter.
 18          2.8    Expert: a person with specialized knowledge or experience in a matter
 19   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 20   an expert witness or as a consultant in this Action.
 21          2.9    House Counsel: attorneys who are employees of a party to this Action
 22   or its affiliates, including their support staff. House Counsel does not include
 23   Outside Counsel of Record or any other outside counsel.
 24          2.10 Non-Party: any natural person, partnership, corporation, association, or
 25   other legal entity not named as a Party to this action.
 26          2.11 Outside Counsel of Record: attorneys who are not employees of a
 27   party to this Action but are retained to represent or advise a party to this Action and
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  1   have appeared in this Action on behalf of that party or are affiliated with a law firm
  2   which has appeared on behalf of that party, and includes support staff.
  3            2.12 Party: any party to this Action, including all of its officers, directors,
  4   employees, consultants, retained experts, and Outside Counsel of Record (and their
  5   support staffs).
  6            2.13 Producing Party: a Party or Non-Party that produces Disclosure or
  7   Discovery Material in this Action.
  8            2.14 Professional Vendors: persons or entities that provide litigation
  9   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 10   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 11   and their employees and subcontractors.
 12            2.15 Protected Material: any Disclosure or Discovery Material that is
 13   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -
 14   ATTORNEYS’ EYES ONLY.”
 15            2.16 Receiving Party: a Party that receives Disclosure or Discovery
 16   Material from a Producing Party.
 17            3.    SCOPE
 18            The protections conferred by this Order cover not only Protected Material (as
 19   defined above), but also (1) any information copied or extracted from Protected
 20   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
 21   and (3) any deposition testimony, conversations, or presentations by Parties or their
 22   Counsel that might reveal Protected Material, other than during a court hearing or at
 23   trial.
 24            Any use of Protected Material during a court hearing or at trial shall be
 25   governed by the orders of the presiding judge. This Order does not govern the use
 26   of Protected Material during a court hearing or at trial.
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  1         4.     DURATION
  2         Even after final disposition of this litigation, the confidentiality obligations
  3   imposed by this Order shall remain in effect until a Designating Party agrees
  4   otherwise in writing or a court order otherwise directs. Final disposition shall be
  5   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  6   or without prejudice; and (2) final judgment herein after the completion and
  7   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  8   including the time limits for filing any motions or applications for extension of time
  9   pursuant to applicable law.
 10         5.     DESIGNATING PROTECTED MATERIAL
 11         5.1    Exercise of Restraint and Care in Designating Material for Protection.
 12   Each Party or Non-Party that designates information or items for protection under
 13   this Order must take care to limit any such designation to specific documents and
 14   things that qualify under the appropriate standards. To the extent that it is not
 15   unreasonably burdensome, the Designating Party should designate for protection
 16   only those parts of material, documents, items, or oral or written communications
 17   that qualify so that other portions of the material, documents, items, or
 18   communications for which protection is not warranted are not swept unjustifiably
 19   within the ambit of this Order.
 20         Mass, indiscriminate, or routinized designations are prohibited. Designations
 21   that are shown to be clearly unjustified or that have been made for an improper
 22   purpose (e.g., to unnecessarily encumber the case development process or to impose
 23   unnecessary expenses and burdens on other parties) may expose the Designating
 24   Party to sanctions.
 25         If it comes to a Designating Party’s attention that information or items that it
 26   designated for protection do not qualify for protection, that Designating Party must
 27   promptly notify all other Parties that it is withdrawing the inapplicable designation.
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  1         5.2      Manner and Timing of Designations. Except as otherwise provided in
  2   this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
  3   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  4   under this Order must be clearly so designated before the material is disclosed or
  5   produced.
  6         Designation in conformity with this Order requires:
  7               (a) for information in documentary form (e.g., paper or electronic
  8   documents, but excluding transcripts of depositions), that the Producing Party affix
  9   at a minimum, the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -
 10   ATTORNEYS’ EYES ONLY” to each page that contains protected material. If
 11   only a portion or portions of the material on a page qualifies for protection, the
 12   Producing Party also must clearly identify the protected portion(s) (e.g., by making
 13   appropriate markings in the margins), to the extent that it is not unreasonably
 14   burdensome to do so.
 15         A Party or Non-Party that makes original documents available for inspection
 16   need not designate them for protection until after the inspecting Party has indicated
 17   which documents it would like copied and produced. During the inspection and
 18   before the designation, all of the material made available for inspection shall be
 19   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 20   documents it wants copied and produced, the Producing Party must determine which
 21   documents, or portions thereof, qualify for protection under this Order. Then,
 22   before producing the specified documents, the Producing Party must affix the
 23   “CONFIDENTIAL”, or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
 24   ONLY” legend to each page that contains Protected Material. If only a portion or
 25   portions of the material on a page qualifies for protection, the Producing Party also
 26   must clearly identify the protected portion(s) (e.g., by making appropriate markings
 27   in the margins), to the extent that it is not unreasonably burdensome to do so
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  1                (b) for testimony given in depositions, such testimony is preferably
  2   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -
  3   ATTORNEYS’ EYES ONLY” during the course of the deposition when
  4   appropriate, but nevertheless shall be provisionally designated as
  5   “CONFIDENTIAL” in its entirety until 30 calendar days after receipt of the final
  6   transcript have past (or a date otherwise agreed by the parties), by which time each
  7   Party shall provide to the other Party an identification of any changes or additions to
  8   the portions of the transcript that it designates as “CONFIDENTIAL” or “HIGHLY
  9   CONFIDENTIAL - ATTORNEYS’ EYES ONLY.” The Parties further agree,
 10   pursuant to Federal Rule of Civil Procedure 30(e), that any deponent may review
 11   and sign their deposition transcript within 30 calendar days of the party receiving
 12   the transcript.
 13                (c) for information produced in some form other than documentary and
 14   for any other tangible items, that the Producing Party affix in a prominent place on
 15   the exterior of the container or containers in which the information is stored the
 16   legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’
 17   EYES ONLY.” If only a portion or portions of the information warrants protection,
 18   the Producing Party, to the extent practicable, shall identify the protected portion(s),
 19   to the extent that it is not unreasonably burdensome to do so.
 20          5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
 21   failure to designate qualified information or items does not, standing alone, waive
 22   the Designating Party’s right to secure protection under this Order for such material.
 23   Upon timely correction of a designation, the Receiving Party must make reasonable
 24   efforts to assure that the material is treated in accordance with the provisions of this
 25   Order.
 26          6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
 27          6.1      Timing of Challenges. Any Party or Non-Party may challenge a
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  1   designation of confidentiality at any time that is consistent with the Court’s
  2   Scheduling Order.
  3         6.2      Meet and Confer. The Challenging Party shall initiate the dispute
  4   resolution process under Local Rule 37-1 et seq.
  5         6.3      The burden of persuasion in any such challenge proceeding shall be on
  6   the Designating Party. Frivolous challenges, and those made for an improper
  7   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  8   parties) may expose the Challenging Party to sanctions. Unless the Designating
  9   Party has waived or withdrawn the confidentiality designation, all parties shall
 10   continue to afford the material in question the level of protection to which it is
 11   entitled under the Producing Party’s designation until the Court rules on the
 12   challenge.
 13         7.       ACCESS TO AND USE OF PROTECTED MATERIAL
 14         7.1      Basic Principles. A Receiving Party may use Protected Material that is
 15   disclosed or produced by another Party or by a Non-Party in connection with this
 16   Action only for prosecuting, defending, or attempting to settle this Action. Such
 17   Protected Material may be disclosed only to the categories of persons and under the
 18   conditions described in this Order. When the Action has been terminated, a
 19   Receiving Party must comply with the provisions of Section 13 below.
 20         Protected Material must be stored and maintained by a Receiving Party at a
 21   location and in a secure manner that ensures that access is limited to the persons
 22   authorized under this Order.
 23         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
 24   otherwise ordered by the court or permitted in writing by the Designating Party, a
 25   Receiving Party may disclose any information or item designated
 26   “CONFIDENTIAL” only to:
 27               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
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  1   well as employees of said Outside Counsel of Record to whom it is reasonably
  2   necessary to disclose the information for this Action;
  3             (b) the officers, directors, and employees (including House Counsel) of
  4   the Receiving Party or its affiliates to whom disclosure is reasonably necessary for
  5   this Action and who have signed the “Acknowledgement and Agreement to Be
  6   Bound” (Exhibit A);
  7             (c) Experts (as defined in this Order) of the Receiving Party to whom
  8   disclosure is reasonably necessary for this Action and who have signed the
  9   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 10             (d) the court and its personnel;
 11             (e) private court reporters and their staff to whom disclosure is reasonably
 12   necessary for this Action and who have signed the “Acknowledgment and
 13   Agreement to Be Bound” (Exhibit A);
 14             (f) professional jury or trial consultants, mock jurors, and Professional
 15   Vendors to whom disclosure is reasonably necessary for this Action and who have
 16   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 17             (g) the author or recipient of a document containing the information or a
 18   custodian or other person who otherwise possessed or knew the information;
 19             (h) during their depositions, witnesses, and attorneys for witnesses, in the
 20   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 21   requests that the witness sign the “Acknowledgment and Agreement to Be Bound”
 22   (Exhibit A); and (2) they will not be permitted to keep any confidential information
 23   unless they sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
 24   unless otherwise agreed by the Designating Party or ordered by the court. Pages of
 25   transcribed deposition testimony or exhibits to depositions that reveal Protected
 26   Material may be separately bound by the court reporter and may not be disclosed to
 27   anyone except as permitted under this Protective Order;
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  1               (i) any mediator or settlement officer, and their supporting personnel,
  2   mutually agreed upon by any of the parties engaged in settlement discussions; and
  3               (j) Plaintiffs to whom disclosure is reasonably necessary for this Action
  4   and who have signed the “Acknowledgement and Agreement to Be Bound” (Exhibit
  5   A).
  6         7.3      Disclosure of “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
  7   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
  8   writing by the Designating Party, a Receiving Party may disclose any information or
  9   item designated “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” only
 10   to:
 11         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
 12   as employees of said Outside Counsel of Record to whom it is reasonably necessary
 13   to disclose the information for this Action;
 14         (b) the House Counsel of the Receiving Party or its affiliates to whom
 15   disclosure is reasonably necessary for this Action and who have signed the
 16   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 17         (c) Experts (as defined in this Order) of the Receiving Party to whom
 18   disclosure is reasonably necessary for this Action and who have signed the
 19   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 20         (d) the court and its personnel;
 21         (e) private court reporters and their staff to whom disclosure is reasonably
 22   necessary for this Action and who have signed the “Acknowledgment and
 23   Agreement to Be Bound” (Exhibit A);
 24         (f) professional jury or trial consultants, mock jurors, and Professional
 25   Vendors to whom disclosure is reasonably necessary for this Action and who have
 26   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 27         (g) the author or recipient of a document containing the information or a
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  1   custodian or other person who otherwise possessed or knew the information; and
  2         (h) any mediator or settlement officer, and their supporting personnel,
  3   mutually agreed upon by any of the parties engaged in settlement discussions.
  4         8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED
  5                 PRODUCED IN OTHER LITIGATION
  6         If a Party is served with a subpoena or a court order issued in other litigation
  7   that compels disclosure of any information or items designated in this Action by
  8   another Party as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -
  9   ATTORNEYS’ EYES ONLY,” that Party must:
 10              (a) promptly notify in writing the Designating Party. Such notification
 11   shall include a copy of the subpoena or court order unless prohibited by law;
 12              (b) promptly notify in writing the party who caused the subpoena or order
 13   to issue in the other litigation that some or all of the material covered by the
 14   subpoena or order is subject to this Protective Order. Such notification shall include
 15   a copy of this Protective Order; and
 16              (c) cooperate with respect to all reasonable procedures sought to be
 17   pursued by the Designating Party whose Protected Material may be affected.
 18         If the Designating Party timely seeks a protective order, the Party served with
 19   the subpoena or court order shall not produce any information designated in this
 20   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’
 21   EYES ONLY” before a determination by the court from which the subpoena or
 22   order issued, unless the Party has obtained the Designating Party’s permission, or
 23   unless otherwise required by the law or court order. The Designating Party shall
 24   bear the burden and expense of seeking protection in that court of its confidential
 25   material and nothing in these provisions should be construed as authorizing or
 26   encouraging a Receiving Party in this Action to disobey a lawful directive from
 27   another court.
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  1         9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  2                 PRODUCED IN THIS LITIGATION
  3              (a) The terms of this Order are applicable to information produced by a
  4   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
  5   CONFIDENTIAL - ATTORNEYS’ EYES ONLY.” Such information produced by
  6   Non-Parties in connection with this litigation is protected by the remedies and relief
  7   provided by this Order. Nothing in these provisions should be construed as
  8   prohibiting a Non-Party from seeking additional protections.
  9              (b) In the event that a Party is required, by a valid discovery request, to
 10   produce a Non-Party’s confidential information in its possession, and the Party is
 11   subject to an agreement with the Non-Party not to produce the Non-Party’s
 12   confidential information, then the Party shall:
 13                 (1) promptly notify in writing the Requesting Party and the Non-Party
 14   that some or all of the information requested is subject to a confidentiality
 15   agreement with a Non-Party;
 16                 (2) promptly provide the Non-Party with a copy of the Protective
 17   Order in this Action, the relevant discovery request(s), and a reasonably specific
 18   description of the information requested; and
 19                 (3) make the information requested available for inspection by the
 20   Non-Party, if requested.
 21              (c) If a Non-Party represented by counsel fails to commence the process
 22   called for by Local Rules 45-1 and 37-1, et seq. within 14 days of receiving the
 23   notice and accompanying information or fails contemporaneously to notify the
 24   Receiving Party that it has done so, the Receiving Party may produce the Non-
 25   Party’s confidential information responsive to the discovery request. If an
 26   unrepresented Non-Party fails to seek a protective order from this court within 14
 27   days of receiving the notice and accompanying information, the Receiving Party
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  1   may produce the Non-Party’s confidential information responsive to the discovery
  2   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
  3   not produce any information in its possession or control that is subject to the
  4   confidentiality agreement with the Non-Party before a determination by the court
  5   unless otherwise required by the law or court order. Absent a court order to the
  6   contrary, the Non-Party shall bear the burden and expense of seeking protection in
  7   this court of its Protected Material.
  8         10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  9         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 10   Protected Material to any person or in any circumstance not authorized under this
 11   Protective Order, the Receiving Party must immediately (a) notify in writing the
 12   Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
 13   all unauthorized copies of the Protected Material, (c) inform the person or persons to
 14   whom unauthorized disclosures were made of all the terms of this Order, and
 15   (d) request such person or persons to execute the “Acknowledgment and Agreement
 16   to Be Bound” (Exhibit A).
 17         11.    INADVERTENT PRODUCTION OF PRIVILEGED OR
 18                OTHERWISE PROTECTED MATERIAL
 19         When a Producing Party gives notice to Receiving Parties that certain
 20   inadvertently produced material is subject to a claim of privilege or other protection,
 21   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 22   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
 23   procedure may be established in an e-discovery order that provides for production
 24   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
 25   (e), insofar as the parties reach an agreement on the effect of disclosure of a
 26   communication or information covered by the attorney-client privilege or work
 27   product protection, the parties may incorporate their agreement into this Protective
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  1   Order.
  2         12.    MISCELLANEOUS
  3         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  4   person to seek its modification by the Court in the future.
  5         12.2 Right to Assert Other Objections. No Party waives any right it
  6   otherwise would have to object to disclosing or producing any information or item
  7   on any ground not addressed in this Protective Order. Similarly, no Party waives
  8   any right to object on any ground to use in evidence of any of the material covered
  9   by this Protective Order.
 10         12.3 Filing Protected Material. A Party that seeks to file under seal any
 11   Protected Material must comply with Civil Local Rule 79-and with any pertinent
 12   orders of the assigned District Judge and Magistrate Judge. Protected Material may
 13   only be filed under seal pursuant to a court order authorizing the sealing of the
 14   specific Protected Material at issue. If a Party’s request to file Protected Material
 15   under seal is denied by the court, then the Receiving Party may file the information
 16   in the public record unless (a) otherwise instructed by the court or (b) if the
 17   Receiving Party receives notice from the Designating Party that it intends to seek
 18   reconsideration of the court’s order denying the request to file the Protected
 19   Materials under seal and such motion for reconsideration is filed prior to the time
 20   limit imposed by the court for filing the information in the public record.
 21         12.4 Redaction of Protected Material Containing Personal Confidential
 22   Information Before Filing. The Parties contemplate that they may produce
 23   Protected Material that contains individual’s personal confidential information
 24   pursuant to the terms of this Order. Prior to filing any such Protected Material in
 25   any Court, the filer must comply with Civil Local Rule 5.2-1 and Federal Rule of
 26   Civil Procedure 5.2 by redacting any sensitive and private information, including
 27   but not limited to personal identifying information on any medical records, passport
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  1   numbers, driver license numbers, full home addresses, and financial account
  2   numbers.
  3         13.    FINAL DISPOSITION
  4         After the final disposition of this Action, as defined in Section 4, within 60
  5   days of a written request by the Designating Party, each Receiving Party must return
  6   all Protected Material to the Producing Party or destroy such material. As used in
  7   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  8   summaries, and any other format reproducing or capturing any of the Protected
  9   Material. Whether the Protected Material is returned or destroyed, the Receiving
 10   Party must submit a written certification to the Producing Party (and, if not the same
 11   person or entity, to the Designating Party) by the 60-day deadline that (1) identifies
 12   (by category, where appropriate) all the Protected Material that was returned or
 13   destroyed and (2) affirms that the Receiving Party has not retained any copies,
 14   abstracts, compilations, summaries or any other format reproducing or capturing any
 15   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 16   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 17   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 18   reports, attorney work product, and consultant and expert work product, even if such
 19   materials contain Protected Material. Any such archival copies that contain or
 20   constitute Protected Material remain subject to this Protective Order as set forth in
 21   Section 4.
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  1         14.    Any violation of this Order may be punished by any and all appropriate
  2   measures including, without limitation, contempt proceedings and/or monetary
  3   sanctions.
  4         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  5
       DATED: November , 2021        LIEFF CABRASER HEIMANN &
  6                                    BERNSTEIN, LLP
  7                                    By:    /s/ Christopher E. Coleman
  8                                           Christopher E. Coleman

  9                                    Attorneys for Plaintiffs

 10
       DATED: November , 2021        ARNOLD & PORTER KAYE SCHOLER LLP
 11
                                       By:    /s/ Jonathan W. Hughes
 12                                           Jonathan W. Hughes
 13                                    Attorneys for Defendants
 14

 15         IT IS SO ORDERED.
 16
 17     DATED: December 1, 2021
 18

 19                                            _________________________
                                               Honorable Steve Kim
 20                                            United States Magistrate Judge
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  1                                         EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3

  4   I,   _____________________________              [print   or   type    full    name],      of
  5   _________________ [print or type full address], declare under penalty of perjury that
  6   I have read in its entirety and understand the Protective Order that was issued by the
  7   United States District Court for the Central District of California on
  8   _________________________ in the case of Leuenhagen, et al. v. Carnival
  9   Corporation, et al., No. 2:21-cv-01187-RGK-SK (C.D. Cal.). I agree to comply with
 10   and to be bound by all the terms of this Protective Order and I understand and
 11   acknowledge that failure to so comply could expose me to sanctions and punishment
 12   in the nature of contempt. I solemnly promise that I will not disclose in any manner
 13   any information or item that is subject to this Protective Order to any person or entity
 14   except in strict compliance with the provisions of this Order.
 15   I further agree to submit to the jurisdiction of the United States District Court for the
 16   Central District of California for the purpose of enforcing the terms of this Protective
 17   Order, even if such enforcement proceedings occur after termination of this action. I
 18   hereby appoint __________________________ [print or type full name] of
 19   _______________________________________ [print or type full address and
 20   telephone number] as my California agent for service of process in connection with
 21   this action or any proceedings related to enforcement of this Protective Order.
 22   Date: ______________________________________
 23   City and State where sworn and signed: _________________________________
 24

 25   Printed name: _______________________________
 26

 27   Signature: __________________________________
 28
                                                 18
      STIPULATED PROTECTIVE ORDER                                    CASE NO. 2:21-cv-01187-RGK-SK
